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          Gould
         Exhibit B
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 January 9, 2019

 Via Email
 Jennifer Golinveaux
 Winston & Strawn LLP
 101 California Street, 35th Floor
 San Francisco, CA 94111
 JGolinveaux@winston.com

        Re:     Sony Music Entm’t, et al., v. Cox Commc’ns, Inc., et al., 1:18-cv-00650-LO-JFA

 Dear Ms. Golinveaux:

         We are troubled by Cox’s January 7, 2019 objections to Plaintiffs’ Second Set of Requests
 for Documents and Second Set of Interrogatories, which appear designed to obscure rather than
 clarify and which contravene Magistrate Judge Anderson’s clear direction to the parties. We
 request a teleconference tomorrow, January 10, 2019, at 3 p.m. ET to discuss these new discovery
 responses. We also write to follow-up on a number of ongoing discovery issues discussed during
 our January 7 call.

                                     Second Set of RFPs and Interrogatories

       I.       Document Requests

         Request No. 1 [67] calls for information concerning infringement notices that involve the
 same subscribers cited in Plaintiffs’ infringement notices. This clearly relevant information was
 encompassed by Plaintiffs’ initial document requests, though withheld by Cox. At the December
 21, 2018 hearing, Magistrate Judge Anderson signaled that this information is relevant. The Court
 distinguished infringement notices from other copyright holders that concern IP addresses or
 subscribers listed in Plaintiffs’ notices, from such notices involving different subscribers. Dec. 21,
 2018 Hr’g Tr. at 24 (“[I]f this was a motion relating to those subscribers that you have identified
 as to any other notices received from others, that’s a different story” and “I would consider
 requiring them to possibly produce notices of infringement from other parties that are directly
 related to the claims in this case.”)

        Though Plaintiffs’ initial requests already sought this narrower information, Plaintiffs
 nevertheless served a follow-up request tailored to address the distinction the Court identified.
 When we asked you by phone on January 7 whether Cox would produce the information sought
 by Request No. 1 [67], you told us to wait to review Cox’s written objections. We have done
 so. Cox’s written objections give no indication whether Cox will produce the requested
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 information. We now need a clear and unambiguous answer as to whether Cox will produce it. To
 the extent Cox maintains that it has already produced the information in response to some other
 request, it should identify the particular bates numbers.

         Request No. 2 [68] call for copies of Cox’s sworn written statements relating to its policies
 or practices concerning copyright infringement on its network by its subscribers. Request Nos. 3
 [69] through 9 [75] seek copies of Cox’s sworn written responses to specific Interrogatories in the
 BMG action. As above, Magistrate Judge Anderson signaled these are proper requests. He stated
 that rather than requesting production of Cox’s entire set of Interrogatory responses in the BMG
 action, Plaintiffs should make particularized requests. Id. at 15-16. He directed Plaintiffs if they
 “look at the record in the BMG case, [they] would probably find that the interrogatories were part
 of motions to compel that were filed in that case and would be available for you to look at and
 make particularized requests.” Id. at 16.

         Plaintiffs have done just that, making particularized requests for Cox’s sworn statements
 concerning: Cox’s handling of infringement notices (RFP 3 [69] discussing BMG Interrogatory
 No. 3); Cox’s notice to customers of claims in infringement notices (RFPs 4 [70] and 5 [71]
 discussing BMG Interrogatory Nos. 4 and 6); Cox’s application of penalties to subscribers who
 have been the subject of infringement notices (RFP 6 [72] and 7 [73] discussing BMG
 Interrogatory Nos. 7 and 8); Cox’s efforts regarding barriers, means, or mechanisms for limiting
 copyright infringement (RFP 8 [74] discussing BMG Interrogatory No. 10); and a list of entities
 that have submitted copyright notices compatible with Cox’s automated systems (RFP 10 [76]
 discussing BMG Interrogatory No. 16). Request No. 9 [75] is even more particularized. It calls
 for three specific documents regarding CATS, two of which are identified by bates number. Cox
 cannot seriously contend that CATS and documents related to its implementation are irrelevant.
 Yet Cox objects on relevance, burden, and breadth. These objections make no sense.

         Cox’s written objections to all of the above requests appear directly at odds with the Court’s
 direction and give no indication whether Cox will produce the requested documents. We need a
 clear and unambiguous answer as to whether Cox will produce the requested information. To the
 extent Cox maintains that it has already produced the information, it should identify the particular
 bates numbers.

          II.   Interrogatories

         Interrogatory No. 1 [13] calls for a list of copyright holders from whom Cox received
 infringement notices during the period 2010 to 2014. Interrogatory No. 2 [14] calls for the raw
 number of notices per copyright holder from 2010 to 2014. This information is relevant, at a
 minimum, to considerations for a jury while awarding damages. Cox’s written objections give no
 indication whether Cox will produce what is requested and your objections are overstated. You
 claim Cox cannot determine whether an entity is a copyright holder, regardless of whether
 infringement notices identify that information and we have no doubt it is tracked in Cox’s CATS
 database. Nonetheless, to moot your vagueness objection, I can clarify that the term “copyright
 holder” in Interrogatory Nos. 1 [13] and 2 [14] means a person or entity identified as a copyright
 holder in an infringement notice, or the notice-sending agent or entity on whose behalf an
 infringement notice was sent. As above, Magistrate Judge Anderson signaled that summary-level
 information is appropriate for production as opposed to the actual notices themselves. Id. at 24
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 (“If it was a motion dealing with the number in a generic sense of copyright notices or infringement
 notices, you know, that they received over a period, that’s a different story.”)

         Interrogatory No. 3 [15] calls for a list of copyright holders upon whom Cox imposed a
 limit or cap on the number of infringement notices Cox would receive from them. Interrogatory
 No. 4 [16] calls for an identification of individuals or entities from whom Cox refused to accept
 infringement notices. Your vagueness objection is no better here, and the clarification above
 regarding entities on whose behalf an infringement notice was sent likewise applies. The requested
 information is clearly relevant and something a jury can consider while awarding damages. Cox’s
 objection to burden is unfounded. Was Cox’s infringing conduct so pervasive that it imposed
 infringement notice caps on many thousands of rights holders or notice-sending agents? The
 interrogatory calls for relevant information that Cox has readily available, in whole or in part, and
 Cox should provide it immediately.

                                   First Set of RFPs and Interrogatories

        We also write to follow-up on and confirm a number of issues from our ongoing
 discussions.

        Privilege Logs: Cox agreed Plaintiffs need not log documents between the parties in suit
 and their outside litigation counsel, or documents internal to Plaintiffs, created after January 29,
 2016.

         BMG trial exhibits: The Court ordered Cox to provide all trial exhibits without regard to
 confidentiality issues. Cox has nevertheless withheld the 31 documents referenced in Thomas
 Kearney’s January 8, 2019 email. You stated that you provided notice to the parties whose
 allegedly confidential information is implicated by the withheld documents and that the 10-day
 period for such parties to object expires Friday, January 18. This means that Cox did not provide
 such notice until January 8, more than two and a half weeks after the hearing and seven weeks
 after Plaintiffs served their requests for the exhibits. There is no justification for this delay. These
 documents should be produced as soon as possible. In any event, please notify us immediately of
 any objection you receive from a relevant party. Plaintiffs reserve their rights regarding Cox’s
 improper withholding of these documents.

         Subscriber identification: We proposed a manner of addressing your concern about
 providing personally identifiable information about Cox subscribers. You were going to get back
 with us to confirm your agreement. The idea is that, for each subscriber identified or referenced
 in an infringement notice from Plaintiffs (or from a third-party infringement notice involving a
 subscriber identified or referenced in one of Plaintiffs’ notices), Cox will provide an account
 number, city, and state associated with such subscriber, along with the associated notice
 information (date, IP address, etc.). To make this work, we would need confirmation that any
 subscriber that Cox terminated and then reactivated was assigned the same account numbers upon
 reactivation. If that is not the case, we will need to discuss how to address subscribers who could
 have been associated with different account numbers.

        Limitations to Plaintiffs, Plaintiffs’ works in suit, and Plaintiffs’ Claim Period: You still
 have not clarified whether you agree to conduct ESI searches for 2010-2014 for RFPs 6, 10, 18,
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 19, 21, 22, 23, 26, 27, 30, 31, 38, 39, 43, 47, 48. We can discuss this in the context of search terms,
 which we proposed the parties exchange this Friday.

       Interrogatories 6, 9, 11 (and related RFPs): The parties have reached an impasse on
 whether Cox will produce documents and information pertaining to subscriber violations of Cox’s
 AUP other than copyright infringement and terminations for failure to pay for service.

         Public statements other than press releases: You agreed to ask your client about public
 statements other than press releases it has made regarding policies and procedures for responding
 to infringement notices. We identified the following illustrative and non-exhaustive examples of
 the types of things that might be included: testimony, statements or presentations to legislators,
 aides, or on the Hill generally, and statements or presentations at industry events, etc. An
 additional category would be message board or blog posts. Please let us know whether such
 documents exist and whether you will produce them.

        Financials:

          1.    The parties have reached an impasse on whether Cox will produce revenue and
 profit information for 2015 to present.

          2.      We need immediate clarification on your response and intended approach to RFP
 57 and Interrogatory No. 10, which seek revenue and profit information associated with
 subscribers about whom Cox received infringement notices. Your responses are unclear and your
 statements during our January 7, 2019 teleconference further confused the matter. In response to
 RFP 57, Cox agreed to produce “documents sufficient to show the total and average revenue and
 profit during Plaintiffs’ Claim Period that was attributable to subscribers who were the subject of
 a notice of claimed infringement submitted on Plaintiffs’ behalf for Plaintiffs’ works in suit during
 Plaintiffs’ Claim Period, to the extent Cox finds such documents within its possession, custody, or
 control after undertaking a reasonable and diligent search.” You said in our January 7 call that
 Cox was still determining whether that information exists. Cox also objected to Interrogatory No.
 10 by referring to RFP 57 and reserving the right to produce documents. Cox did not state whether
 it will actually produce any such documents, which, as we’ve discussed, renders the interrogatory
 response deficient. Please clarify Cox’s approach here. Are you searching for documents that
 already exist with the requested information compiled in the manner requested? Or are you trying
 to determine whether the financial information sought exists in Cox’s financial records? We have
 no doubt the latter exists, and it must be produced. Given that the information is called for in both
 document requests and interrogatories, Cox may not withhold the information based on the
 contention that a ready-made document with the requested information does not presently exist.
 As Cox knows the subscribers who are the subject of Plaintiffs’ notices, it can run a report to
 produce the associated financial information for their accounts.

         3.      You agreed to reconsider the limitation provided in response to RFP 55 and provide
 the total and average revenue and profit per subscriber for the life of the account, from January 1,
 2010 to present.

        4.     The parties have reached an impasse on RFPs 56 and 61 requesting documents
 demonstrating the average life of a subscriber account and churn rate. Cox refuses to provide that
 information beyond “Plaintiffs’ claim period.”
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        5.      The parties have reached an impasse on RFPs 58-60 regarding the number of Cox
 subscribers and penetration rates.

         6.     We look forward to your supplement to Interrogatory No. 8 regarding the effects
 that terminating subscribers has or could have on your financial interests or the attractiveness of
 your service.

        Walled garden: You agreed to produce written policies concerning Cox’s walled garden,
 as well as screen shots sufficient to show what the walled garden looks like. Such screenshots
 should include but not be limited to the view shown to a subscriber who is placed in the walled
 garden. Walled garden should also be a search term and we can discuss that further as we exchange
 terms.

          BMG trial testimony of Joseph Sikes and Jason Zabek: Portions of the videotaped
 depositions of Joseph Sikes and Jason Zabek were played during the BMG trial, however, there
 is no transcript of this trial testimony. Please identify the portions of the relevant deposition
 transcripts or provide the edited deposition video played at trial.

                                          *         *    *

         Please confirm your availability for a teleconference on January 10, 2019 at 3 pm ET to
 discuss Cox’s objections to Plaintiffs’ Second Set of RFPs and Interrogatories. We are happy to
 discuss the other issues raised above but cannot delay an immediate meet-and-confer on Cox’s
 objections to Plaintiffs’ Second Set of RFPs and Interrogatories.


                                       Sincerely,

                                       /s/ Jeffrey M. Gould
